            Case 4:02-cr-40078-JPG                                       Document 1152 Filed 08/15/11                                                          Page 1 of 4          Page ID
~AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations              #1567
             Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                                              Southern District of Illinois

        UNITED STATES OF AMERICA
                             v.
               MICHAEL NORDHAUS

                                                                                                                Case No. 4:02CR40078-002-JPG
                                                                                                                 USM No. 05791-025
                                                                                                                  Melissa Day, AFPD
                                                                                                                                                        Defendant" s Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)                              as alleged below                                                     of the term of supervision.
D was found in violation ofcondition(s)                                 _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                                                                                    Violation Ended
Statutory                         The defendant committed the offense of Theft in excess of                                                                         07/03/2011

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                                ',':" :,:I!,!i,,';" ,,'i~iii:",i ':!ij,il! ~!I~d:!": '""J,;mi!hll!! 'lil,mi!ildfhli!li:!t!:,<!d"j!i!l!d!!:i'.:h:;, :

Standard # 9                      The defendant associated with a convicted felon without                                                                           07/03/2011



       The defendant is sentenced as provided in pages 2 through                                                          4             ofthis judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address Ulltn all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 2334                                                               08/09/2011

Defendant's Year of Birth:             1977

City and State of Defendant's Residence,
Dahlgren, IL 62828
                                                                                                                                                                              District Judge
                                                                                                                   ~                                   Name and Title of Judge

                                                                                                                   ~?J"4af                                  I:L u ( f
                                                                                                                                                                Date
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 AD 245D                                                            #1568
               (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment

                                                                                                 Judgment -   Page   _=2_ of         4
 DEFENDANT: MICHAEL NORDHAUS
 CASE NUMBER: 4:02CR40078-002-JPG


                                                                   IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
12 months 1 day ( said sentence is to concurrent with the State Court sentence imposed.




       o   The court makes the following recommendations to the Bureau of Prisons:




       tI The defendant is remanded to the custody of the United States Marshal.
       o   The defendant shall surrender to the United States Marshal for this district:
           o     at   _________ 0                          a.m.      0    p.m.   on
           o     as notified by the United States Marshal.

       o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o    before 2 p.m. on
           o     as notified by the United States Marshal.
           o     as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

  I have executed this judgment as follows:




           Defendant delivered on                                                     to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                                 By _ _ _~~~~~~~~~~~---_
                                                                                           DEPUTY UNITED STATES MARSHAL
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  AO 245D                                                          #1569
              (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release

                                                                                                    Judgment-Page      3     of         4
  DEFENDANT: MICHAEL NOROHAUS
  CASE NUMBER: 4:02CR40078-002-JPG
                                                              SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
60 months



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)! unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ano at least two periodic drug
  tests thereafter as determined by the court.
  o     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  o     The defendant shall not possess a firearm, anununition, destructive device, or any other dangerous weapon. (Check, if
  o     The defendant shall cooperate in the collection of ONA as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

  I)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
            five days of each month;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted ofa felony, unless granted permlssion to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  II)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the pennission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confinn the defendant's compliance with such notificatIOn requirement.
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 AO 2450                                                        #1570
           (Rev. 12/07) Judgment in a Criminal Case for Revocations
           Sheet 3C ~ Supervised Release

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 DEFENDANT: MICHAEL NORDHAUS
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                                           SPECIAL CONDITIONS OF SUPERVISION

X Due to the defendant's substance abuse history, she shall participate as directed and approved by the probation officer
in treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
detection measures and which may require residence and/or participation in a residential treatment facility or residential
reentry center. Any participation will require complete abstinence from all alcoholic beverages, illegal substances, and all
other substances for the purposes of intoxication. The defendant shall pay for the costs associated with substance abuse
counseling and/ or testing based on a copay sliding fee scale approved by the United States probation Office. Copay shall
never exceed the total costs of counseling. The number of tests shall not exceed 52 in a one year period.

X The defendant shall submit his person, residence, real property, place of business, computer, electronic communication
and data storage device or media, vehicle and any other property under her control to a search, conducted by the United
States Probation Officers and such other law enforcement personnel as the probation officer may deem advisable and at
the direction of the United States Probation Officer, at a reasonable time and in a reasonable manner, based upon
reasonable suspicion of contraband or evidence of a violation of a condition of supervision, without a warrant. Failure to
submit to a search may be grounds for revocation. The defendant shall inform any other residents that the premises may
be subject to a search pursuant to this condition.

X The defendant shall abstain from any use or possession of alcohol and shall not enter any establishment whose
primary source of income is derived from the sale of alcohol, such as a bar or tavern.

X The defendant shall not use, ingest, possess, purchase or otherwise consume any intoxicant including, but not limited
to "bath salts" or any other substance for the purposes of intoxication.
